          Case 1:21-cv-00011-EHM            Document 15       Filed 01/05/21      Page 1 of 28
                                        REDACTED VERSION
                                                CORRECTED

                     IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                      BID PROTEST
Receipt munber AUSFCC-6709514
                                                         *
                                                         *
    TRAILBOSS ENTERPRISES, INC.,                         *
                                                         *
                    Plaintiff,                           *       Case No. 21-11C
                                                         *
            V.                                           *                                1
                                                         *
    THE UNITED STATES OF AMERICA,                        *
                                                         *
                    Defendant.                           *
                                                         *



                                             COMPLAINT

           For its Complaint against the United States of America, Plaintiff Trailboss Ente1prises, Inc.

   ("Trailboss"), by and through undersigned counsel, alleges as follows:

                                       I.    INTRODUCTION

            1.     This is a post-award bid protest against the United States, acting through the

   U.S. Department of Homeland Security, Immigration & Customs Enforcement (the "Agency"),

   seeking declarato1y judgment and injunctive relief.

           2.      This bid protest challenges the Agency's arbitra1y, capnc1ous, iirntional, and

   unreasonable decision to award Contract No. 70CDCR 20D00000017 (the "Contract") to

   G4S Secure Solutions (USA), Inc. ("G4S") for detainee transportation and protection services to

   be perfonned in the San Antonio, Texas region and smTounding areas.



          1 In accordance with Appendix C of the Rules of the United States Comi of Federal Claims
   ("RCFC"), Trailboss is contemporaneously filing with this Complaint a Motion for Leave to File
   Under Seal and a Motion for Protective Order. See RCFC, App'x. C §§ III, VI.

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Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 2 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 3 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 4 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 5 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 6 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 7 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 8 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 9 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 10 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 11 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 12 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 13 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 14 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 15 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 16 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 17 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 18 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 19 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 20 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 21 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 22 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 23 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 24 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 25 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 26 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 27 of 28
Case 1:21-cv-00011-EHM   Document 15   Filed 01/05/21   Page 28 of 28
